          Case 2:15-cr-00055-JPB Document 49 Filed 07/03/18 Page 1 of 2



                           81,7('67$7(6',675,&7&2857
                         )257+(',675,&72)1257+'$.27$



81,7('67$7(62)$0(5,&$

       3ODLQWLII

Y                                                           &5,0,1$/12&5
                                                             -XGJH%DLOH\

'$1,(/&(521

       'HIHQGDQW

              25'(5*5$17,1*'()(1'$17¶6027,2172&217,18(

       2QWKHQGGD\RI-XO\WKLVPDWWHUFDPHEHIRUHWKLV&RXUWIRUDKHDULQJRQWKH

GHIHQGDQW¶V0RWLRQWR&RQWLQXH>'RF@ZKLFKZDVILOHGRQ-XQH,QVXSSRUWRI

WKHPRWLRQWRFRQWLQXHWKHWULDOZKLFKLVFXUUHQWO\VFKHGXOHGWREHJLQ6HSWHPEHU

GHIHQVH FRXQVHO &KDUOHV 6WRFN VWDWHV WKDW KH QHHGV DGGLWLRQDO WLPH WR UHYLHZ WKH

YROXPLQRXVGLVFRYHU\LQWKLVPDWWHUDQGWRFRQVXOWZLWKKLVFOLHQW7KHGHIHQGDQWIXUWKHU

VWDWHVWKDWKHZDLYHVKLVULJKWWRDVSHHG\WULDO7KH*RYHUQPHQWGRHVQRWREMHFWWRD

FRQWLQXDQFH

       $IWHUFDUHIXOUHYLHZRIWKHJURXQGVRIIHUHGLQVXSSRUWWKLV&RXUWILQGVJRRGFDXVH

WRJUDQWWKHPRWLRQWRFRQWLQXH,QGRLQJVRWKLV&RXUWKDVFRQVLGHUHGWKHIDFWRUVRXWOLQHG

LQ86&K%DQGQRZILQGVWKDWWKHHQGVRIMXVWLFHVHUYHGE\JUDQWLQJWKH

FRQWLQXDQFHRXWZHLJKWKHEHVWLQWHUHVWRIWKHSXEOLFDQGWKHGHIHQGDQWLQDVSHHG\WULDO

 86&  K$  6SHFLILFDOO\ WKLV &RXUW ILQGV WKDW D IDLOXUH WR JUDQW WKH

FRQWLQXDQFHZRXOG³XQUHDVRQDEO\GHQ\FRXQVHOIRUWKHGHIHQGDQWWKHUHDVRQDEOHWLPH



                                                 
          Case 2:15-cr-00055-JPB Document 49 Filed 07/03/18 Page 2 of 2



QHFHVVDU\IRUHIIHFWLYHSUHSDUDWLRQWDNLQJLQWRDFFRXQWWKHH[HUFLVHRIGXHGLOLJHQFH´6HH

 86&  K%LY  $FFRUGLQJO\ WKLV SHULRG RI GHOD\ VKDOO EH H[FOXGHG LQ

FRPSXWLQJWKHWLPHZLWKLQZKLFKWULDOPXVWFRPPHQFH

       $FFRUGLQJO\WKH0RWLRQWR&RQWLQXH>'RF@LVKHUHE\*5$17('DQGWKHWULDO

LQWKLVPDWWHUZLOOQRZFRPPHQFHRQ)HEUXDU\DWDP&'7$GGLWLRQDOO\

WKHSUHWULDOFRQIHUHQFHLQWKLVPDWWHULVKHUHE\&217,18('XQWLO-DQXDU\DW

SP&'7YLDYLGHRWHOHFRQIHUHQFLQJ

       $VDILQDOPDWWHULQOLJKWRIWKHDERYHFRQWLQXDQFHDOORWKHUUHPDLQLQJGHDGOLQHVDUH

KHUHE\(;7(1'('E\DSHULRGRIWLPHFRPPHQVXUDWHWRWKHQHZWULDOGDWH,IDQ\SUHWULDO

PRWLRQVDUHILOHGWKHSDUWLHVDUHGLUHFWHGWRFRQWDFWWKHPDJLVWUDWHMXGJHWRVFKHGXOHD

PRWLRQVKHDULQJ

       ,WLVVR25'(5('

       7KH&OHUNLVGLUHFWHGWRWUDQVPLWFRSLHVRIWKLV2UGHUWRDOOFRXQVHORIUHFRUGKHUHLQ

       '$7('-XO\




                                                
